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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

IN RE:                                                               Case No.: 6:19-bk-05871-CCJ
PAUL EDWARD BROSS                                                    Chapter 13


               Debtor.                     /



                OBJECTION BY CREDITOR TO CONFIRMATION OF PLAN

         COMES NOW Secured Creditor, Ditech Financial LLC (Secured Creditor), by and through

its undersigned counsel, and files this written objection to confirmation of Debtors’ Proposed

Chapter 13 Plan, pursuant to Bankruptcy Rules §3015(f), §9014 and all other applicable provisions

of the Bankruptcy Code and as grounds therefor states:

         1.     On July 26, 2006, Debtor Paul Bross executed and delivered a Note (“Note”) and a

                Mortgage (“Mortgage”) securing payment of the Note in the amount of

                $300,000.00 to SunTrust Mortgage, Inc. The Mortgage was recorded on August 4,

                2006 in Book 5681, Page 2537 of the Public Records of Brevard County, Florida.

                The loan was transferred to Secured Creditor which granted Secured Creditor a first

                lien on the real property located at 265 Atlantic Dr., Melbourne Beach, FL 32951

                the (“Subject Property”) legally described as:




         2.     The amount Secured Creditor’s claim as of the date of filing will be set forth in the

                Secured Creditor’s Proof of Claim to be filed on or before the Claims Bar Date,

                November 18, 2019.
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       3.      The Debtor’s Plan provides for monthly payments to the Trustee in the amount of

               $5,327.00 per month. However, the debtor’s schedule J shows a net monthly

               income of $925.00, which includes $2,187.00 housing expenses. Therefore, the

               Plan is not feasible.

       WHEREFORE, Secured Creditor respectfully requests that this Court sustain the

objections stated herein and deny confirmation of the Debtor’s Plan, and for such other and further

relief as this Court deems just and proper.

       DATED this 11th day of October 2019.

                                               Respectfully submitted,

                                               /S/ Seth Greenhill
                                               Seth Greenhill, Esq.
                                               Florida Bar # 97938
                                               PADGETT LAW GROUP
                                               6267 Old Water Oak Road, Suite 203
                                               Tallahassee, FL 32312
                                               (850) 422-2520 (telephone)
                                               (850) 422-2567 (facsimile)
                                               Seth.Greenhill@padgettlawgroup.com
                                               Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy has been furnished to the parties on

the attached Service List by electronic notice and/or by First Class U.S. Mail on this 11th day

of October, 2019:



                                            Respectfully submitted,
                                            /S/ Seth Greenhill
                                            Seth Greenhill, Esq.
                                            Florida Bar # 97938
                                            PADGETT LAW GROUP
                                            6267 Old Water Oak Road, Suite 203
                                            Tallahassee, FL 32312
                                            (850) 422-2520 (telephone)
                                            (850) 422-2567 (facsimile)
                                            Seth.Greenhill@padgettlawgroup.com
                                            Attorney for Creditor
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                    SERVICE LIST (CASE NO. 6:19-bk-05871-CCJ)

Debtor
Paul Edward Bross
997 South Wickham Road
West Melbourne, FL 32904

Trustee
Laurie K Weatherford
Post Office Box 3450
Winter Park, FL 32790
